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                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

IN RE:                                               CASE NO.: 24-40382-KKS
                                                     CHAPTER 13
STEFANIE DIMIC

       Debtor(s).                   /

            ORDER DISMISSING CASE PURSUANT TO
          CHAPTER 13 TRUSTEE'S NOTICE OF FAILURE TO
       COMPLY WITH STRICT COMPLIANCE ORDER (ECF NO. 36)

      THIS CASE is before the Court on the Chapter 13 Trustee's Notice of

Failure to Comply with Strict Compliance Order (ECF No. 36) requesting that the

Court enter an Order Dismissing Case, and the Court being fully advised, it is

      ORDERED:

      1.     The Debtor(s)' Chapter 13 case is DISMISSED.

      2.     If the Court has entered an Order Confirming Plan and Order to

Debtor(s), the Trustee is directed to pay any funds on hand to creditors.

      3.     If there has not been an Order Confirming Plan and Order to

Debtor(s) entered by the Court, then the Court reserves jurisdiction solely to

determine the fees and expenses for the Chapter 13 Trustee. The Chapter 13

Trustee shall then have fifteen (15) days in which to file an application for said

fees. Upon the filing of said application for fees, or if no fee application is filed,
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then the Chapter 13 Trustee shall forthwith remit all funds on hand, less the

amounts requested for fees and expenses, to the Debtor(s). The Trustee shall

hold all funds not remitted to the Debtor(s) pending a hearing or Order to

determine reasonable fees and expenses.

      4.     The Debtor(s) is directed to immediately remit any unpaid filing

fees, if due. Debtor(s) must remit all past sums due to the Clerk before filing a

new Petition. The Court retains jurisdiction to collect all unpaid fees, and the

Clerk is directed to pursue all available avenues to ensure the fees are collected.

      DONE AND ORDERED on                  December 18, 2024
                                          _________________________________.



                                      _____________________________________
                                      KAREN K. SPECIE
                                      CHIEF U.S. BANKRUPTCY JUDGE

Order prepared by LEIGH A. DUNCAN.

LEIGH A. DUNCAN is directed to serve a copy of this Order on interested parties who are
non-CM/ECF users and file a proof of service within three (3) days of entry of the Order.
